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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   No. 4:10CR510 HEA
                                               )
YASIN GANIBAIE VAHORA,                         )
                                               )
       Defendant.                              )

                                         ORDER

       IT IS HEREBY ORDERED that the sentencing hearing previously set in this matter for

Monday, November 14, 2011, is reset to Monday, November 21, 2011, at 11:30 a.m. in the

courtroom of the undersigned.

       Dated this 9th day of November, 2011.




                                          ________________________________
                                             HENRY EDWARD AUTREY
                                           UNITED STATES DISTRICT JUDGE
